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                               Exhibit 44



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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       4           IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS STATE OF MISSOURI

       5

       6     STATE OF MISSOURI, ex rel.            ) JEREMIAH W. (JAY) NIXON,        )

       7     Attorney General,                     ) )

       8     AND                                   ) )

       9     MISSOURI DEPARTMENT OF SOCIAL         ) SERVICES, DIVISION OF MEDICAL   )

      10     SERVICES,                             ) )

      11                      Plaintiffs,          ) ) Case No.

      12                      v.                   ) 054-1216 )

      13     DEY INC, DEY LP, MERCK KGaA, EMD ) DIVISION 31 INC, WARRICK PHARMACEUTICALS   )

      14     CORPORATION, SCHERING-PLOUGH          ) CORPORATION, and SCHERING       )

      15     CORPORATION,                          ) )

      16                      Defendants.          )

      17

      18

      19

      20               VIDEO DEPOSITION OF SUSAN MCCANN, R.Ph.

      21      Taken on behalf of the Defendants Warrick, Schering,

      22                           and Schering-Plough

      23                              October 3, 2007

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   90:1                 But we didn't that I recall -- for example,

       2     say we have to -- I don't know that we said we had to

       3     give them a fee increase.          Oh, I might have.    Because

       4     the cost to dispense was always determined -- let's

       5     say the -- I don't know the exact numbers in my head.

       6                But let's say the cost to dispense was

       7     established to be $3.         The legislature would allow us

       8     to pay them $2.50.         So that means there was a loss

       9     every time in the cost to provide the service.

      10                MS. TORGERSON:

      11                Q.      Okay.    And so -- let me break down a

      12     little bit of what you said there.         Was it your

      13     understanding or your belief that the ingredient cost

      14     and the dispensing fee were interrelated?

      15                A.      It's not that they're interrelated.

      16     It's the cost to do business in a pharmacy.            That's

      17     how they're interrelated.

      18                My position was that if we're going to

      19     reflect more accurately what they pay for drugs, which

      20     is appropriate, then we ought to more accurately

      21     reflect what it costs them.

      22                Q.      Okay.    And conversely, if you decided to

      23     not pay them what it cost them to dispense the drug,

      24     then you might have to make up for that in the

      25     ingredient cost, keeping the ingredient cost higher?




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   91:1                 A.      No.   No, that wasn't -- that wasn't

       2     ever -- my fight the entire time I was there was to

       3     pay accurately on both sides of that equation.

       4                 My fight the entire time I was there was,

       5     "Let's pay them what it costs and pay them an

       6     appropriate fee."

       7                 Q.     And --

       8                 A.     So it wasn't, "Let's pay them more over

       9     here."     But every time I was -- that I tried to more

      10     actually pay what they actually -- what they actually

      11     paid for the drug, every time I was presented with,

      12     "Save money here.        Save money there."   Or whatever.

      13                I always came back to, "If we're going to --

      14     if we're going to do this correctly, we need to do it

      15     correctly."      And that was always my position.

      16                Q.      Were you ever successful in having that

      17     position adopted by the State of Missouri?

      18                A.      Not completely.

      19                Q.      I mean in truth, the dispensing fee has

      20     never gone up to what it costs the pharmacy to

      21     actually dispense the product, is that correct?

      22                A.      Well, since I left, you'll need to talk

      23     to them.    Because they have other arrangements for how

      24     pharmacies are reimbursed now.

      25                Q.      Up until the time you left, were




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